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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                    AKRON DIVISION

 In Re:                                           Case No. 17-50555-amk

 Jane R. Andrick                                  Chapter 13

 Debtor.                                          Judge Alan M. Koschik

                                    CERTIFICATE OF SERVICE

I certify that on September 9, 2022, a true and correct copy of this Notice of Mortgage Payment
Change was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          Michael George, Debtor’s Counsel
          mgeorge@ohiolegalclinic.com

          Keith Rucinski, Trustee
          efilings@ch13akron.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          Jane R. Andrick, Debtor
          3865 Moreland Ave
          Stow, OH 44224
                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor




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